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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In re:                                      : Chapter 11
                                              :
  Museum of American Jewish History, d/b/a    : Case No. 20-11285 (MDC)
  National Museum of American Jewish History  :
                                              :
                       Debtor.                :
                                              :
                                     AFFIDAVIT OF SERVICE

  STATE OF NEW YORK               )
                                  )     ss:
  COUNTY OF KINGS                 )

  I, John Burlacu, declare:

             1.   I am over the age of 18 years and not a party to this chapter 11 case.

             2.   I am employed by Donlin, Recano & Company, Inc. (“DRC”), 6201 15th Avenue,
                  Brooklyn, NY 11219.

             3.   On the 3rd day of April, 2020, at my direction and under my supervision, employees
                  of DRC caused to serve the following documents:

                      a) Local Rule 2016-5 First Request for Payment on Account for Compensation
                         and Reimbursement of Expenses of Dilworth Paxson LLLP, Counsel for the
                         Debtor, for the Period March 1, 2020 through March 31, 2020 (Docket No.
                         148); and

                      b) Notice of Local Rule 2016-5 First Request for Payment on Account for
                         Compensation and Reimbursement of Expenses of Dilworth Paxson LLP,
                         Counsel for Debtor, for the Period March 1, 2020 through March 31, 2020
                         (Docket No. 149),

                  via electronic mail upon the parties as set forth in Exhibit 1; and via First Class US
                  Mail upon the parties as set forth in Exhibit 2, attached hereto.

  I declare under penalty of perjury that the foregoing is true and correct to the best of my personal
  knowledge. Executed this 4th day of May, 2020, Brooklyn, NY.

                                                          By_______________________
                                                                 John Burlacu
  Sworn before me this
  4th day of May, 2020


  _______________________
  Notary Public
NMAJH00012
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                                EXHIBIT 1
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                                                                            of American    of 5 History
                                                                              Electronic Mail
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CITY OF PHILADELPHIA                            HANKIN SANDMAN PALLADINO WEINTROB & BELL PC   HANKIN SANDMAN PALLADINO WEINTROB & BELL PC      OFFICE OF THE US TRUSTEE
MEGAN N HARPER,ESQ                              COLIN G BELL, ESQ                             COLIN G BELL, ESQ                                KEVIN P CALLAHAN, TRIAL ATTORNEY
WATER REVENUE DEPT                              30 SOUTH NEW YORK AVENUE                      30 SOUTH NEW YORK AVENUE                         200 CHESTNUT ST
MUNICIPAL SERVICES BUILDING                     ATLANTIC CITY NJ 08401                        ATLANTIC CITY NJ 08401                           STE 502
1401 JOHN F KENNEDY BLVD, 5TH FLOOR             COLING@HANKINSANDMAN.COM                      AMYL@HANKINSANDMAN.COM                           PHILADELPHIA PA 19106-2912
PHILADELPHIA PA 19102- 1595                                                                                                                    KEVIN.P.CALLAHAN@USDOJ.GOV
MEGAN.HARPER@PHILA.GOV

000039P001-1427S-012                            000038P001-1427S-012
VENZIE CONSTRUCTION LAW LLC                     WEBER GALLAGHER SIMPSON ET AL.
JEFFREY C VENZIE, ESQ                           PETER E MELTZER, ESQ.
600 EAGLEVIEW BLVD.,STE 300                     2000 MARKET STREET
EXTON PA 19341                                  SUITE 1300
JEFF@VENZIELAW.COM                              PHILADELPHIA PA 19103
                                                PMELTZER@WGLAW.COM




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                                EXHIBIT 2
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CITY OF PHILADELPHIA                             HANKIN SANDMAN PALLADINO WEINTROB & BELL PC   OFFICE OF THE US TRUSTEE              VENZIE CONSTRUCTION LAW LLC
MEGAN N HARPER,ESQ                               COLIN G BELL, ESQ                             KEVIN P CALLAHAN, TRIAL ATTORNEY      JEFFREY C VENZIE, ESQ
WATER REVENUE DEPT                               30 SOUTH NEW YORK AVENUE                      200 CHESTNUT ST                       600 EAGLEVIEW BLVD.,STE 300
MUNICIPAL SERVICES BUILDING                      ATLANTIC CITY NJ 08401                        STE 502                               EXTON PA 19341
1401 JOHN F KENNEDY BLVD, 5TH FLOOR                                                            PHILADELPHIA PA 19106-2912
PHILADELPHIA PA 19102- 1595


000038P001-1427S-012
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